Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 1 of 55 Page ID #:1345
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 2 of 55 Page ID #:1346
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 3 of 55 Page ID #:1347
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 4 of 55 Page ID #:1348
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 5 of 55 Page ID #:1349
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 6 of 55 Page ID #:1350
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 7 of 55 Page ID #:1351
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 8 of 55 Page ID #:1352
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 9 of 55 Page ID #:1353
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 10 of 55 Page ID
                                 #:1354
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 11 of 55 Page ID
                                 #:1355
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 12 of 55 Page ID
                                 #:1356
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 13 of 55 Page ID
                                 #:1357
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 14 of 55 Page ID
                                 #:1358
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 15 of 55 Page ID
                                 #:1359
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 16 of 55 Page ID
                                 #:1360
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 17 of 55 Page ID
                                 #:1361
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 18 of 55 Page ID
                                 #:1362
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 19 of 55 Page ID
                                 #:1363
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 20 of 55 Page ID
                                 #:1364
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 21 of 55 Page ID
                                 #:1365
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 22 of 55 Page ID
                                 #:1366
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 23 of 55 Page ID
                                 #:1367
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 24 of 55 Page ID
                                 #:1368
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 25 of 55 Page ID
                                 #:1369
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 26 of 55 Page ID
                                 #:1370
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 27 of 55 Page ID
                                 #:1371
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 28 of 55 Page ID
                                 #:1372
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 29 of 55 Page ID
                                 #:1373
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 30 of 55 Page ID
                                 #:1374
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 31 of 55 Page ID
                                 #:1375
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 32 of 55 Page ID
                                 #:1376
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 33 of 55 Page ID
                                 #:1377
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 34 of 55 Page ID
                                 #:1378
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 35 of 55 Page ID
                                 #:1379
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 36 of 55 Page ID
                                 #:1380
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 37 of 55 Page ID
                                 #:1381
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 38 of 55 Page ID
                                 #:1382
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 39 of 55 Page ID
                                 #:1383
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 40 of 55 Page ID
                                 #:1384
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 41 of 55 Page ID
                                 #:1385
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 42 of 55 Page ID
                                 #:1386
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 43 of 55 Page ID
                                 #:1387
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 44 of 55 Page ID
                                 #:1388
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 45 of 55 Page ID
                                 #:1389
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 46 of 55 Page ID
                                 #:1390
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 47 of 55 Page ID
                                 #:1391
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 48 of 55 Page ID
                                 #:1392
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 49 of 55 Page ID
                                 #:1393
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 50 of 55 Page ID
                                 #:1394
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 51 of 55 Page ID
                                 #:1395
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 52 of 55 Page ID
                                 #:1396
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 53 of 55 Page ID
                                 #:1397
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 54 of 55 Page ID
                                 #:1398
Case 2:09-cv-06734-SJO-RC Document 58-3 Filed 08/09/10 Page 55 of 55 Page ID
                                 #:1399
